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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION



ORCUN SELCUK; ALAN DAVID
GWILLIAM; TINGTING ZHEN; MICHAEL                    Case No. 4:24-cv-00390
BROKLOFF; and THE LEAGUE OF
UNITED LATIN AMERICAN CITIZENS
OF
IOWA, on behalf of itself and its members,
                                                    STATE DEFENDANT’S RESPONSE
   Plaintiffs,
                                                    IN OPPOSITION TO PLAINTIFF’S
        v.
                                                      EMERGENCY MOTION FOR
PAUL D. PATE, in his official capacity as the
                                                        EXPEDITED DISCOVERY
Iowa Secretary of State; BENJAMIN D.
STEINES, in his official capacity as the
Winneshiek County Auditor and Winneshiek
County Commissioner of Elections; JAMIE
FITZGERALD, in his official capacity as the
Polk County Auditor and Polk County
Commissioner of Elections; MELVYN
HOUSER, in his official capacity as the
Pottawattamie County Auditor and
Pottawattamie County Commissioner of
Elections; ERIN SHANE, in her official
capacity as the acting Johnson County Auditor
and acting Johnson County Commissioner of
Elections; and KERRI TOMPKINS, in her
official capacity as the Scott County Auditor and
Scott County Commissioner of Elections,
   Defendants.
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                                            INTRODUCTION
        This Court denied Plaintiffs’ request for emergency relief. Dkt. 31 at 2. This Court detailed

five primary reasons for that denial—starting with Beals v. Virginia Coalition for Imm. Rts., No.24A407,

2024 WL 4608863 (U.S. Oct. 30, 2024) and Republican National Committee v. Genser, No. 24A408, 2024

WL 467792 (U.S. Nov. 1, 2024), and relying on Purcell v. Gonzalez, 549 U.S. 1, 5–6 (2006). This Court

agreed with binding Supreme Court precedent that federal judges should be cautious about issuing

decisions affecting how the State runs elections on election day as a matter of law—no discovery was

requested or needed. Dkt. 32 at 2. Now, Plaintiffs seek via emergency discovery order what was denied

in their temporary restraining order and waived from their complaint. See Dkt. 40. This Court should

deny the renewed request for emergency relief.

        First, there is no exigency here. Plaintiffs first request for emergency relief was denied at 4 p.m.

on Sunday, but they waited until almost the close of polls to file their second emergency motion. See

id. Plaintiffs’ claimed exigency—resolving ballots challenged during the election—will be resolved or

moot by the time this response is filed. State Defendant is working around the clock to deal with these

sequenced emergency motions but are hard pressed when this emergency relief that could have been

filed earlier is filed at 7:00 p.m. on election day itself.

        Second, Plaintiffs waived their claim or this court denied it in the TRO denial. Oddly, Plaintiffs

never state what claim their discovery relates to. One ground of relief that Plaintiffs sought in their

complaint included “Public Disclosure of Voter Registration Activities.” Dkt. 1 at 29. That was under

Count Seven, which related to “Violation of the National Voter Registration Act.” Id. Plaintiffs

affirmatively and strategically waived their NVRA claim for purposes of the emergency relief they

sought. See, e.g., Dkt. 21 at 1, 5. They now renew the relief they waived on an emergency basis restyled

under a different emergency basis. Also, the relief Plaintiffs seek is like the sixth form of relief sought

in the since-denied temporary restraining order, which included ordering “all Defendants to take all


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such steps as are necessary to alert all individuals on the list of Affected Voters and the public that any

notice letters sent to pursuant to an Affected Voter’s status are rescinded” among other actions. Dkt.

9 at 2.

          Unsatisfied with this Court’s denial of the requested emergency relief and their own affirmative

NVRA waiver—and despite the problems with disclosure being briefed before this Court and

forfeited by Plaintiffs—Plaintiffs now return for a second bite at the emergency relief apple. Dkt. 40.

Having been denied emergency relief on the merits, Plaintiffs repackage their request as emergency

discovery. But there is no request for emergency relief pending—this Court denied such relief. And

nothing in the rules warrants emergency discovery regarding non-party voters.

          On the merits, State Defendant laid out the disclosure issues under both State and federal law

with the list that Plaintiffs now seek. See Dkt. 14-1 at 26–28. Plaintiffs did not respond to this argument

in either their reply or their supplemental brief. Dkt. 21; Dkt. 30. Defendant raised the disclosure issue

at the temporary restraining order hearing and offered a colloquy with the Court, which the Court

deemed unnecessary at the time and which was not raised by Plaintiffs’ rebuttal. See Dkt. 28 (notice of

hearing; as Plaintiffs declined to file an emergency appeal State Defendant has not yet asked for or

received a transcript). This issue is either forfeited or waived when it comes to the emergency

consideration that Plaintiffs now seek, again.

          Third, Purcell applies to this renewed relief sought via discovery motion. Indeed, Purcell counsels

federal courts not to issue relief unless it is “entirely clear” on the eve of election day. Dkt. 32, at 14

(quoting Merrill v. Milligan, 142 S. Ct. 879, 881 (2022) (Kavanaugh, J., concurring)). While a more

complete timeline will be recounted below, it is important to highlight the prejudice the State now

faces—as two constitutional offices, the Secretary of State and Attorney General’s Office with

important responsibilities on election day now must divert time and resources to respond to an

emergency motion filed seeking relief this Court already denied on an emergency basis. Plaintiffs


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baselessly contend that Purcell does not apply to discovery motions relating to this newly styled claim

for relief that can be found in their complaint and their request for emergency relief. But calling the

relief “discovery” is not a get-out-of-Purcell free card.

        Fourth, the emergency circumstances Plaintiffs rely on—challenged ballots before the end of

election day—were, at the time of filing, almost over. Plaintiffs’ relief was denied on November 3.

State Defendant immediately asked for information about whether Plaintiffs would emergency

appeal—to which no response was offered until 2:53 p.m. on November 4, when State Defendant

received a preservation letter demanding documents be preserved, among other demands. See Ex. A,

Ex. B. State Defendant reminded Plaintiffs that, having lost their request for emergency relief, State

Defendant had 60-days from waiver of service to answer or move to dismiss. See id. Besides in their

denied motion for a temporary restraining order, at no point before noon on November 5—election

day—did the emergency demand for discovery come. See id. State Defendant reminded Plaintiff about

the timing and the availability of resources for county auditors or voters that were confused. At

Plaintiffs demand, Plaintiffs and State Defendant video conferenced at 3:00 p.m. During that

conference at which Plaintiffs explained the basis for which they would seek an emergency discovery

motion, State Defendant expressed concern that this motion for expedited discovery is improper.

Plaintiffs filed their motion at 7:00 p.m. on election day, seeking immediate relief.

        Plaintiffs attach to their emergency motion a declaration from one individual who is not a

plaintiff and who successfully cast a ballot, not provisional, that will be counted. See Dkt. 40-4 ¶ 13.

Those extra steps to vote are not ideal but are the consequence of USCIS continuing to refuse to hand

over the complete and correct list that they have by election day. That one successful voter cannot be

the basis for good cause for emergency relief.

        And Plaintiffs contend that “The Attorney General’s Office indicated that some documents,

including particularly the list of affected voters, already exist and would not present a burden to


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produce, but that the Secretary’s communications would have to be collected.” Dkt. 40-1 at 5. There

must be some confusion. When asked directly if the State Defendant thought that producing these

documents would be burdensome or create prejudice, counsel answered, “Yes.” Then, he explained

in detail why the discovery request is burdensome and prejudicial—and that the work already spent

dealing with this motion today imposes a cost on the people of Iowa who deserve both their Secretary

of State and Attorney General’s Office to be focused on the efficient and secure election rather than

responding to meritless motions relating to emergency relief that has been denied.

         And Plaintiffs also contend that the State Defendant is violating the Court’s denial of

temporary relief. Dkt. 40-1 at 4. Not so. While there are always issues that arise during the election,

the process and procedure has been, to the State Defendant’s knowledge, consistent with what the

Court explained in its Sunday order.

         Finally, by the time Plaintiffs filed, election day was almost over. Indeed—the supposed relief

sought is not even possible to produce at this point before polls close. To the extent there is confusion

or are questions, the Secretary of State and local election officials are working around the clock to

ensure that those questions are answered. This Court was correct when it explained that “other efforts

to confirm citizenship”—like the relief asked for here—“would engender more confusion than it

resolves.” Dkt. 32 at 14.

         This Court should deny again the unwarranted emergency relief filed not only on the eve of

election day but on election day eve.

                                          BACKGROUND
         Around 4 p.m. on November 3, this Court denied Plaintiffs’ motion for temporary restraining

order and preliminary injunction. Dkt. 32. Plaintiffs informed State Defendant around 3 p.m. on

November 4 that they would not appeal and sent a document preservation demand letter. See Ex A;

Ex. B.


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        At 7 p.m. on November 5—one hour before precincts closed on Election Day, and more than

48 hours after this Court denied Plaintiffs’ first request for emergency relief—Plaintiffs renewed their

request for emergency relief, characterizing it now as an emergency motion for expedited discovery.

Dkt. 40.

        Count Seven of Plaintiffs’ complaint alleged the Secretary violated the National Voter

Registration Act, 52 U.S.C. § 20507(i), by “refusing to provide records with the list of voters identified

as potential non-citizens within a reasonable time period.” Dkt. 1 at ¶ 151. Plaintiffs thus requested

the Court to order that “the requested records must now be produced immediately.” Dkt. 1 ¶ 152.

        In their reply in support of injunctive relief, Dkt. 21 at 1, 5, and at the November 1 motion

hearing, Plaintiffs waived their statutory arguments for purposes of seeking emergency relief. This

Court reported Plaintiffs’ waiver as Plaintiffs having “wisely conceded that the NVRA does not

provide a basis for injunctive relief.” Dkt. 32 at 14.

        Plaintiffs then elected not to appeal this Court’s denial of their motion for injunctive relief.

        At noon on Election Day, Plaintiffs for the first time alerted State Defendant that they would

immediately demand emergency discovery when Plaintiffs’ counsel e-mailed State Defendant’s

counsel demanding the Secretary turn over the requested records immediately. Ex. A. In particular,

Plaintiffs requested:

        (a) the Secretary's list of voters, including the counties in which they reside and their
        contact information; (b) the directions the Secretary has issued to county
        commissioners charged with implementing his directive; and (c) any further guidance
        the Secretary has issued to county commissioners as it relates to the procedures for
        determining a voter's citizenship, such as what documentation will be deemed
        adequate.
Ex. A. Plaintiffs charged that the alleged exigency continues through November 12, and thus supports

their request for expedited discovery. But because State Defendant has 60 days from date of service

to file a responsive pleading, and because the Secretary and Secretary’s counsel are busy facilitating

the election on election day, and because the exigency of the Election has effectively passed, State


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Defendant declined to provide the requested documents in the requested emergency manner. Ex. A.

State Defendant instead reserved final determination on the document request until the appropriate

time. Ex. A (“To the extent [Plaintiffs] wish to engage in discovery in the normal course [State

Defendant] can discuss that at the appropriate time, assuming that if [State Defendant] move[s] to

dismiss the Court denies [State Defendant’s] motion.”).

        At 7:00 p.m. on election day, Plaintiffs moved for expedited discovery. Dkt. 40. Citing

“developing facts on election day,” which includes evidence of one non-party voter who initially had

their ballot challenged, then provided evidence to the county auditor, then had their ballot counted,

see Dkt. 40-4, Plaintiffs allege a need for expedited discovery about the voters on the Secretary’s list

and the procedures being used to assess citizenship of non-party voters. Plaintiffs also attach

declarations from two attorneys either representing or working for the Iowa Democratic Party, who

are not alleged to be on the list, who called various county auditor’s offices and the Secretary’s office

seeking information about how the conduct of elections and declare they received differing guidance

from different officials. Dkt. 40-2; Dkt. 40-3.

        Plaintiffs’ emergency request provides no evidence relating to any named Individual Plaintiff

nor any of Plaintiff LULAC’s members. Put differently, Plaintiffs provide no evidence that any

Plaintiff has not had their vote counted if they provided timely evidence of citizenship status. See Dkt.

32, Order denying TRO, at 15 (“Here, the restrictions are not so severe in and of themselves to trigger

the higher standard of scrutiny because: (1) . . . many of the voters on [the Secretary’s] list of 2,176

will be entitled to vote a regular, non-provisional ballot; and (ii) those who are required to vote

provisionally will have their votes counted if they provide timely evidence of citizenship status.”).
                                            ARGUMENT
I.      PLAINTIFFS SHOULD NOT GET TO SHORT CIRCUIT ORDINARY
        PROCEDURE AFTER HAVING WAIVED THEIR STATUTORY BASES FOR
        EMERGENCY RELIEF AND LOST THE REMAINDER OF THEIR
        REQUESTED EMERGENCY RELIEF.

        Plaintiffs already lost their request for emergency relief. This Court need not entertain a second

such request when the exigency of the upcoming election is almost passed, particularly when Plaintiffs

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renew their request on a ground they already waived. Having briefed and argued this matter once

already on an expedited timeline, State Defendant should be allowed the proper time under the Rules

to file a responsive pleading. Discovery should be conducted on an ordinary timeline.

        Plaintiffs argue a good cause standard governs the propriety of such emergency discovery.

Dkt. 40-1 at 5–6. But none of the cases support a finding of good cause here, five days after service

was waived, two days after injunctive relief was denied, and nearly two months ahead of Defendant’s

responsive pleading deadline. The first case Plaintiffs cite involved a need for early, expedited

discovery to aid service of process; plaintiff there established a need for discovery to locate the

defendant. Luzadder v. Accelerated Servicing Grp., LLC, No. 4:19-CV-00268-RP-RAW, 2019 WL

6293893, at *1 (S.D. Iowa Nov. 19, 2019). Luzadder is of course inapposite here. Four other cases they

cite involved expedited discover in aid of a pending preliminary injunction motion. Rapid Refill, LLC

v. JDDK, Inc., No. C14-0084, 2014 WL 12581758, at *1 (N.D. Iowa July 17, 2014); Wachovia Sec. LLC

v. Stanton, 571 F. Supp. 2d 1014, 1050 (N.D. Iowa 2008); Council on Am.-Islamic Rels.-Minnesota v. Atlas

Aegis, LLC, 497 F. Supp. 3d 371, 380 (D. Minn. 2020); Fish v. Kobach, 189 F. Supp. 3d 1107, 1112 (D.

Kan.), aff’d, 691 F. App’x 900 (10th Cir. 2016), and aff’d, 840 F.3d 710 (10th Cir. 2016), and order

enforced, 294 F. Supp. 3d 1154 (D. Kan. 2018). But Plaintiffs have already lost their request for

emergency relief. One of those three cases, Atlas Aegis, LLC, also allowed discovery to aid plaintiffs

in identifying the as-yet-unknown defendants, which is not the case here either. 497 F. Supp. 3d at

380. And another case they cite involved a defendant being allowed to seek reciprocal expedited

discovery because the plaintiff there was already granted expedited discovery relating to the court’s

determination of the already-filed motion to dismiss. Forrah v. United States, 282 F.R.D. 442, 445 (N.D.

Iowa 2012). But here, because it is just six days after Plaintiffs filed suit, there is no pending motion

to dismiss. Finally, Plaintiffs rely on an election case where—unlike here—plaintiffs received their

requested emergency injunctive relief, so the Court then granted expedited discovery to aid in the trial


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on the merits. Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270, 1299 (N.D. Ga. 2018). That is not

this case.

        In all events, there is no good cause here because at least four of the five common factors

courts consider when evaluating “good cause” for expedited discovery support denying the expedited

relief: (1) the motion for injunctive relief was already denied, (2) the purpose of the request does not

relate to any Plaintiff, (3) the request is about as far in advance of the usual discovery process as

possible with this suit being less than one week old, and (4) the burden of compliance is great given

the lack of any meritorious reason for disclosure. See Atlas Aegis, LLC, 497 F. Supp. 3d at 380 (detailing

common factors).

        1.          The motion for injunctive relief was already denied.

        On October 30, Plaintiffs sued the Secretary of State, raising multiple constitutional and

statutory counts. Count 7 demanded that “the requested records must now be produced immediately.”

Dkt. 1 ¶ 152. On October 31, five days before the election, Plaintiffs moved for emergency injunctive

relief. Dkt. 9-1.

        State Defendant opposed the request for emergency relief, in part arguing that disclosure of

the information Plaintiffs demanded the Secretary to disclose would violate State and federal law.

Dkt. 16 at 21–23. In their reply, not only did Plaintiffs fail to respond to that merits argument, but

they expressly waived any emergency relief based on their statutory claims, relying instead only on

constitutional grounds for their desired emergency relief. Dkt. 21 at 1, 5. This Court then denied the

motion. First, the Court recognized Plaintiffs “wisely conceded” that their statutory claims do not

provide a basis for emergency relief. Dkt. 32 at 14. Then the Court rejected their constitutional claims,

reasoning that “Plaintiffs have not shown a sufficient likelihood of success on the merits to warrant

injunctive relief.” Dkt. 32 at 14.




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        Now Plaintiffs seek emergency disclosure of certain documents, including the Secretary’s list

of self-identified non-citizen registered voters and their personal contact information, as well as any

direction and guidance the Secretary has had with county commissioners on how to administer the

election in a way to ensure no noncitizen may cast a ballot. Seemingly the hook for such request is

Count 7 or some other statutory Count, especially given that Plaintiffs were determined to lack a

likelihood of success on the merits as a matter of law as to each of their constitutional claims. But

Plaintiffs waived any reliance on those statutory claims when seeking emergency relief.

        The exigency is over. Today is election day. Any person on the list who decided to vote in this

election would have received notice of any ballot challenge by 8 p.m. tonight when precincts closed.

Plaintiffs assert the exigency continues through November 12 at noon, when ballot challenges must

be resolved.

        2.       The purpose of the request does not relate to any Plaintiff.

        Disclosing to Plaintiffs the names on the list and their contact information is not justified as

related to the denied emergency relief and is not germane to Plaintiffs’ claims for relief. The Individual

Plaintiffs do not face ballot challenges. See Dkt. 32 at 3. To the extent any of Plaintiff LULAC’s

members face ballot challenges, LULAC already has their contact information and vice versa. Those

members can contact LULAC for assistance, or LULAC can send a notice out to its full membership

list. Any non-party facing a ballot challenge may cure by providing evidence of their citizenship. More,

this is not a class action; non-party rights are not represented by Plaintiffs in this case. Plaintiffs

contend their discovery requests are narrow—but their discovery is broad enough to be unrelated to

relief for these Plaintiffs in this case.

        3        The request is about as far in advance of the usual discovery process as possible with this suit being
                 less than one week old.

        State Defendant has 60 days from the date Plaintiffs requested a waiver of service to answer

or move to dismiss. Fed. R. Civ. P. 4(d)(3). He waived service on October 31 and thus has until

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December 30 to answer or move to dismiss. Dkt. 2. Demanding expedited pre-answer discovery 3

business days after suing, and 2 days after losing the emergency motion, is far from proper procedure.

And demanding that senior members of the Secretary of State’s team divert resources to trawling

through their emails during the process of overseeing the election and its aftermath is a harsh burden

to impose unless absolutely justified. If allowed, it would in effect grant in part Plaintiffs’ first request

for emergency relief.

        “Expedited discovery’ is not a backdoor means for relief once a plaintiff loses a motion for

temporary restraining order and preliminary injunction. Plaintiffs should not get to file a second

motion seeking emergency relief by simply characterizing it as a discovery motion instead of a motion

for injunctive relief. The requested relief operates the same: either State Defendant is ordered to

disclose certain documents, or he is not.

        In sum, Plaintiffs’ requested emergency discovery would short circuit the ordinary course of

litigation. This Court should not give them a second bite at the apple.

        4.      The burden of compliance is great given the lack of any meritorious reason for disclosure.
        The burden of compliance on State Defendant would be severe. Plaintiffs demand discovery

responses within less than 24 hours or, in some cases, within 48 hours, while the Secretary is busy

conducting the election. Worse, Plaintiffs’ renewed emergency relief still demands the Secretary to

release information that is protected under state and federal law. This Court should not force such a

severe burden on Plaintiffs who waited more than 48 hours after having their injunctive relief denied

to even file such request.

        Plaintiffs again ask Defendants to release the list of self-identified noncitizen voters despite

that list being protected and confidential information. Not only did Plaintiffs waive their request for

emergency production of these documents and otherwise lose the remainder of their first request for

emergency relief, but releasing the requested information would violate State and federal law. The

information here was received from the Department of Transportation subject to various memoranda


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of understanding both with the Secretary of State’s office and with the federal government. So this

Court should not order Defendants to release that information.

        Iowa Code makes all Iowa DOT records available for public inspection, except those which

are made confidential, and which are not permitted to be open. See Iowa Code § 321.11. That section

goes on to state that “personal information shall not be disclosed subject to 18 U.S.C. § 2721 unless

the person whose personal information is requested has provided express written consent allowing

disclosure.” Id. Under both Iowa Code section 321.11 and 18 U.S.C. section 2721, “personal

information” is defined as “information that identifies a person, including a person’s photograph,

social security number, driver’s license number, name, address, telephone number, and medical or

disability information, but does not include information on vehicular accidents, driving violations, and

driver’s status or a person’s zip code.” 18 U.S.C. § 2725; Iowa Code § 321.11(2). Personal information

may be given only to an officer or employee of a law enforcement agency or an employee of a federal

or state agency or political subdivision acting in their official capacity, or to the Department of

Inspections, Appeals and Licensing for purposes of investigating. Iowa Code § 321.11(3).

        Iowa Code section 22.7(66) creates a privilege for personal information contained on

electronic driver’s license or nonoperator’s identification card records.        That is because that

information is provided by the licensee or card holder to the department of transportation “for use

by law enforcement, first responders, emergency medical service providers, and other medical

personnel responding to or assisting with an emergency.” The requested information is from the

department of transportation, relating to information on their drivers’ licenses, and is “for use by law

enforcement.” is very straightforward in its protection of personal information provided to the Iowa

DOT for purposes of a driver’s license or other identification document.

        Iowa law makes clear that the Iowa DOT may not provide personal information to anyone

outside of government without that persons’ express written authorization. Milligan v. Ottumwa Police

Department held that because the personal identifying information sought by the citizen came from the

vehicle registration and driver’s license database, its public disclosure was “presumptively prohibited



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under the [Drivers Privacy and Protection Act] and Iowa Code § 321.11.”, 937 N.W.2d 97, 99–100

(Iowa 2020), as amended (Jan. 21, 2020).

        As noted in Milligan, the federal Drivers Privacy and Protect Act (“DPPA”) prohibits a state

department of motor vehicles from “knowingly disclosing or making available to any person or entity

personal information about any individual obtained in connection with a motor vehicle record.” 18

U.S.C. § 2721(a); see also Maracich v. Spears, 570 U.S. 48 57, 133 (2013) (citing Reno v. Condon, 528 U.S.

141, 144 (2000)). The federal definition of personal information matches Iowa Code section 321.11.

        While there are no cases interpreting that federal law in Iowa or our home circuit, a case out

of the Middle District of Pennsylvania is highly informative. In Public Interest Legal Foundation v.

Boockvar, the Foundation sued Pennsylvania state officials seeking the production, under the National

Voter Registration Act of records documenting that noncitizens were registering to vote through the

Pennsylvania Department of Motor Vehicles due to a “glitch” in their system which allowed

noncitizens to register when the renewed their licenses. Pub. Int. Legal Foundation v. Boockvar, 431

F.Supp.3d 553, 556 (M.D. Pa. 2019). The court first found that the NVRA record disclosure provision

was not limited to information related to the death or change in residence of a registrant. Id. at 561.

Then it explained that the requestor had identified information which was subject to disclosure under

the NVRA. Id. Given those findings, the court held the DPPA barred disclosing that protected

information. Id. at 562–64.

        In sum, like the records requested in Boockvar, the records compiled by the Iowa Secretary of

State involved an analysis matching noncitizen driver’s license number, including the indication that

the individuals attested to not being a citizen, against the driver’s license numbers of registered voters.

These records are protected under DPPA against any requests, whether made as a Freedom of

Information request or under the disclosure provision of the NVRA. Iowa’s DOT code has a

matching protection for personal information obtained by the DMV in issuing a driver’s license which

gives the same protections at the state level.

        Plaintiffs’ requested emergency discovery would violate both State and federal law. At the

least, there are no grounds to compel the State to engage in this discovery now without giving the Court

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the benefit of time to consider the request’s propriety—outside of the procedural impropriety at issue

and explained elsewhere in this brief.

II.      PLAINTIFFS’ RENEWED REQUEST FOR EMERGENCY RELIEF—LIKE
         THEIR FIRST REQUEST—IS FORECLOSED BY THE PURCELL PRINCIPLE
         AND THIS COURT’S PREVIOUS ORDER.

         “[C]ourt orders affecting elections . . . can themselves result in voter confusion and

consequent incentive to remain away from the polls. As an election draws closer, that risk will

increase.” Purcell, 549 U.S. at 5. And this Court already applied the Purcell principle to this case in

denying Plaintiffs’ first request for emergency relief, determining that the principle “weighs heavily

against injunctive relief.” Dkt. 32 at 11; id. at 2 (“Like Beals, Genser counsels the Court to act with great

caution before awarding last-minute injunctive relief into how Iowa officials handle election issues.”).

Plaintiffs contend that Purcell does not apply to the emergency relief that they seek on the eve of

election day but have no citation for that proposition. This Court should again decline their invitation

to insert itself into the election here.

         But here we are on election day. And today, Plaintiffs return to this Court with a second

emergency request that the Court order the Secretary to release the names on the list and related

documents—phrasing it now as a request for emergency discovery instead of a request for TRO or

preliminary injunction. Such semantics should not evade proper procedure. The effect of their second

request is the same as the first request. They waived the first request in part. Then this Court denied

it, relying on the Purcell principle and the U.S. Supreme Court’s repeated cautionary warning for courts

not to issue orders as an election draws near. This Court declined to grant Plaintiffs their request relief

“into how Iowa officials handle election issues.” Dkt. 31 at 2.




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         After waiving their first emergency claim for production of the requested records, Plaintiffs

do not get a second bite at the apple. Ordinary principles of waiver, party presentation, and Purcell

roundly reject such a renewed emergency request.

                                                       CONCLUSION

         For these reasons, Defendants respectfully request that Plaintiffs’ request for emergency

discovery be denied.
                                                         Respectfully submitted,

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                                                         Attorney General of Iowa

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Original filed electronically.
Copy electronically served on all parties of record.
                                                                                  PROOF OF SERVICE
                                                               The undersigned certifies that the foregoing instrument was served on
                                                         counsel for all parties of record by delivery in the following manner on November
                                                         5, 2024:

                                                                    U.S. Mail                     FAX
                                                                    Hand Delivery                 Overnight Courier
                                                                    Federal Express               Other
                                                                    CM/ECF

                                                              Signature: /s/Eric Wessan




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